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8
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9    UNITED STATES OF AMERICA
10                           UNITED STATES DISTRICT COURT
11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
12                                  SOUTHERN DIVISION
13   UNITED STATES OF AMERICA,                No. 8:17-cr-00153-CJC

14              Plaintiff,                    STIPULATION RE: CORRECTED FIGURE
                                              FOR TOTAL AMOUNT OF RESTITUTION
15                    v.

16   VICTORIA CHAN,

17              Defendant.

18

19         Plaintiff United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21   California and Assistant United States Attorney Charles E. Pell, and
22   defendant VICTORIA CHAN, both individually and by and through her
23   counsel of record, Diane C. Bass, Esquire, hereby agree and stipulate
24   as follows:
25         1.    In January 2021, the Court held the sentencing hearing in
26   this case and pronounced the sentence for defendant, but deferred
27   making a decision on the restitution amount to give the parties
28   additional time to determine the accurate figure for restitution.
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1    (DE 85 (minutes of sentencing).)

2          2.    In April 2021, the Court held a restitution hearing, during

3    which the parties and several attorneys for customers/victims

4    addressed the Court, and ordered the parties to confer and file a

5    restitution stipulation the includes proposed restitution payments

6    and victims to be compensated.       (DE 96 (minutes of sentencing).)

7          3.    On June 28, 2021, the parties filed a stipulation

8    requesting that the Court order total restitution of $20,461,970.61

9    for the 57 victims (DE 99), which had been listed by name and amount
10   in an under-seal restitution list filed by the parties.
11         4.    On July 14, 2021, the parties filed an under seal addendum
12   to the restitution stipulation, which detailed an additional 8
13   customers and one company (restitution list row numbers 6, 24, 30,
14   43, 52, 61, 62, 65, and 66) who had claimed restitution for the
15   Court’s determination, but whom the parties had not included in the
16   57 victims restitution list filed under seal by the parties.
17         5.    On July 20, 2021, the Court issued an order finding that
18   those additional individuals and company were not entitled to

19   restitution, but found that the 57 individuals on the under seal

20   restitution list were entitled to restitution, in a total amount of

21   $20,461,970.61. (DE 105.)

22         6.    That same day, on July 20, 2021, the Court issued an

23   amended JNC with the total amount of restitution of $20,461,970.61.

24   (DE 106.)

25         7.    Subsequently, the parties were notified and now have

26   determined that the parties made an arithmetic error when calculating

27   the total restitution amount by adding the individual restitution

28   amounts for the 57 individuals listed on the under seal restitution

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1    list.      Specifically, when computing the total amount of restitution

2    for victim row numbers 1-65 (57 individuals), for some unknown

3    reason, the subtotals of rows 1-5 for victims S.Y.C. to Q.C.

4    ($2,920,400) and rows 7-23 for victims M.J.C. to X.L.L. ($8,962,070)

5    were omitted from the sum, which constituted an addition error of

6    $11,782,470.

7          8.      To correct that error, the correct total amount of

8    restitution should be $32,244,440.61, which is calculated by adding

9    the missing amount of $11,782,470 to the previous restitution total
10   of $20,461,970.61.
11         9.      Thus, the parties respectfully request that the Court issue

12   a second amended JNC that specifies that the total amount of

13   restitution is $32,244,440.61 for the 57 victims whom the Court has

14   previously found were victims entitled to restitution.

15         10.     The parties apologize for the arithmetic addition error.

16   The parties have re-checked this total to ensure it is correct.

17         11.     The parties will also be filing concurrently with this

18   stipulation an under seal revised victim list, which is unchanged as

19   to individual victims and restitution amounts per victim, but has a

20   corrected total amount of restitution on line 66/column 4, from

21   $20,461,970.61 to $32,244,440.61.         In that sealing application, the

22   parties also request that the Court direct the Clerk’s Office to

23   disclose that under seal victim restitution list to the parties and

24   authorize the parties to further disclose it to individual victims,

25   by redacting all other victims’ information, other than the

26   individual victim to which it is disclosed.

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1          12.   Upon the Court’s issuing a second amended JNC and the

2    sealing order allowing further disclosure of the victim list, the

3    government will provide each victim with a copy of that second

4    amended JNC and a redacted copy of the victim list (with only their

5    name unredacted).

6    IT IS SO STIPULATED.

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9                                                   03.09.2022

10   CHARLES E. PELL                               Date
     Assistant United States Attorney
11   Santa Ana Branch Office

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13         /s/ per email authorization on 03.15.2022

14   DIANE C. BASS, Esquire                        Date
     Attorney for Defendant
15   VICTORIA CHAN

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